30 F.3d 129
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clifton Ray ELLIS, Plaintiff Appellant,v.James G. MARTIN, Governor;  Fred Barnette;  Geneva Berry,Defendants Appellees,andVernon Lee BOUNDS, Defendant.
    No. 94-6525.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1994.Decided July 26, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-92-846-BO)
      Clifton Ray Ellis, Appellant Pro Se.
      LaVee Hamer, Office of the Attorney General of North Carolina, Raleigh, NC, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ellis v. Martin, No. CA-92-846-BO (E.D.N.C. Apr. 13, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    